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, ll Angela Swan, #213793

THE LAW OFFICES OF ANGELA SWAN,

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Attorney for Plaintiff Billie Rene Frances Lillian Powers

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION — SANTA ANA

Billie Rene Frances Lillian Powers ?)

Plaintiff, )

vs. Case No. 8:17-cv-01386-DOC-KES
BANK OF AMERICA, N.A.; THE
BANK OF NEW YORK MELLON | )
F/K/A THE BANK OF NEW YORK, )
AS TRUSTEE, ON BEHALF OF
THE HOLDERS OF THE
ALTERNATIVE LOAN TRUST
2007-HY9, MORTGAGE PASS- i»)
THROUGH CERTIFICATES ) NOTICE OF PENDENCY OF ACTION
SERIES 2007-HY9; SELECT ) (LIS PENDENS)
PORTFOLIO SERVICING, INC.;
QUALITY LOAN SERVICE
CORPORATION; MORTGAGE
ELECTRONIC REGISTRATION
SYSTEMS, INC.:
COMMONWEALTH LAND TITLE ?
COMPANY; JON SECRIST;
NICHOLE CLAVADETSCHER; and j
DOES 1 to 10, inclusive, }

Defendants. )

 

NOTICE OF PENDENCY OF ACTION
(LIS PENDENS)
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TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that the above-entitled action, United States
District Court, Central District of California, Southern Division-Santa Ana, Case
No. 8:17-cv-01386-DOC-KES, commenced August 11, 2017; Verified Third
Amended Complaint filed March 19, 2018, by Attorney Angela Swan, counsel for
Billie Rene Frances Lillian Powers against Bank of America, N.A., et al.
(Defendants), and remains pending.

Plaintiff alleges a real property claim affecting the real property commonly
known as 40701 Ortega Highway, San Juan Capistrano, CA 92530, as APN 125-
120-27, in the Office of the County Recorder of said county.

(See Attachment for Legal Description)

Plaintiff disputes Defendants’ claim and asserts she is the true and equitable owner

of said property.

DATED: March 19, 2018 Respectfully submitted,

THE LAW OFFICES OF
ANGELA SWAN, A PROFESSIONAL
CORPORATION

BY: AK —

/Angeta-Swan, Esq.,
Attorney for Billie Rene Frances Lillian
Powers

APPROVED PURSUANT TO CAL. CIV. PROC. CODE. § 405.21

NOTICE OF PENDENCY OF ACTION
(LIS PENDENS)
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EXHIBIT “A”

BEGINNING AT THE INTERSECTION OF THE WEST LINE OF THE EAST ONE-HALF OF SECTION
47, TOWNSHIP 6 SOUTH, RANGE 5 WEST, SAN BERNARDINO BASE AND MERIDIAN, AND THE
RIVERSIDE AND ORANGE COUNTY BOUNDARY LINE, AS PER F.B. 113, PAGE 114, RECORDS
OF RIVERSIDE COUNTY. CALIFORNIA, THENCE NORTH 33° 22° EAST, ALONG SAID BOUNDARY
LINE, A DISTANCE OF 1933.47 FEET, MORE OR LESS, TO TRUE POINT OF BEGINNING, BEING
AT THE SOUTHEASTERLY CORNER OF LAND CONVEYED TO MARCEL ANDO MALVINA CRISTIN
BY CEED ON FILE IN BOOK 2089 PAGE 99 OF OFFICIAL RECORDS: THENCE NORTH 0° 03° 19"
WEST, TO A POINT ON THE NORTH LINE GF SAID EAST ONE-HALF OF SAID SECTION 17,
BEING AT THE NORTHEAST CORNER OF SAID LAND CONVEYED TO SAID PARCEL AND
MALVINA CRISTIN: THENCE SOUTH 88¢ 50° EAST. ALONG THE NORTH LINE OF SAID EAST
ONE-HALE OF SAID SECTION 17, A OISTANCE OF 487.03 FEET: THENCE SOUTH 0° 03° 89"
EAST. TO THE iNTERSECTIGN WITH THE SAID RIVERSIDE AND ORANGE COUNTY BOUNDARY
LINE: THENCE SOUTH 33° 22” WEST, ALONG SAID BOUNDARY LINE, 4 DISTANCE OF 864.93
FEET, MORE OR LESS, TO THE TRUE POINT OF BEGINNING.

 
